
Turley, J.
delivered the opinion of the court.
This bill, filed by complainant, asking the aid of a Court of Chancery to set up a deed of bargain and sale for a tract of land, which was lost and destroyed before registration, the bargainor having departed this life without executing another.
The representatives of the bargainor do not resist the relief sought, but the Chancellor dismissed the bill, upon the ground that the bargainor having once conveyed the land, had parted with all his interest therein, and that the Court had no jurisdiction of such case.
In this we think the Chancellor erred. The loss of the deed is a casualty seriously endangering the complainant’s title, as he can maintain no action of ejectment without it. He then certainly must have a right to ask the aid of a Court of Chancery in his case, either by having the legal title vested in him as against the bargainor and his representatives, or by having the deed set up and established as in all other cases of lost deeds. *579The complainant may have his decree for either or both of these remedies.
